Case 13-02221-jw           Doc 21      Filed 08/02/16 Entered 08/02/16 12:23:07                 Desc Main
                                       Document      Page 1 of 4


                            UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF SOUTH CAROLINA
IN RE:                              ) CASE NO.: 13-02221-jw
                                    )
    LOUISE COLEMAN GRANT            ) CHAPTER 13
                                    )
                                    ) NOTICE
          Debtor(s).                ) CERTIFICATION OF PLAN COMPLETION AND
____________________________________) REQUEST FOR A DISCHARGE
To the Trustee and to all creditors and parties in interest:
YOU ARE HEREBY NOTIFIED that the above-referenced debtor has requested a discharge pursuant
to 11 U.S.C. §1328(a) in the above case. A copy of the Certification of Plan Completion and Request for
Discharge is attached.
Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case.
If you have any reason to believe that the provisions of 11 U.S.C. §522(q) apply to this debtor or that
there is pending any proceeding in which the debtor may be found guilty of a felony of the kind described
in 11 U.S.C. §522(q)(1)(A) or liable for a debt of the kind described in 11 U.S.C. §522(q)(1)(B) or that
the debtor is otherwise not entitled to a discharge, then you or your attorney must:
       1. File with the court a written response to the Certification, specifying the basis for your
response, no later than fourteen (14) days from the date of service of this Notice, and mail a copy to:
           Richard A. Steadman, Jr., Esquire
           P. O. Box 60367
           North Charleston, SC 29419-0367
           (843) 529-1100
           rsteadman@steadmanlawfirm.com
           District Court I.D. 4284
           Attorney for the Debtor
           LOUISE COLEMAN GRANT
           109 Sundance Court
           Summerville, SC 29483
         2. Attend the hearing to be held as indicated below.
PLEASE TAKE FURTHER NOTICE that no hearing will be held on the Request for Discharge unless a
response is timely filed and served, in which case, the Court will conduct a hearing on (consent/14 days)
September 15, 2016 at 9:00 A.M., at King and Queen Building, 145 King Street, Room 225, Charleston,
South Carolina. No further notice of this hearing will be given.

Date: August 2, 2016                                           /s/ Richard A. Steadman, Jr._________
                                                               Richard A. Steadman, Jr..
                                                               Steadman Law Firm, P.A.
                                                               Post Office Box 60367
                                                               North Charleston, SC 29419-0367
                                                               (843) 529-1100, Fax (843) 529-0027
                                                               rsteadman@steadmanlawfirm.com
                                                               District Court I.D. #4284
                                                               Attorney for Debtor(s)
Case 13-02221-jw          Doc 21   Filed 08/02/16 Entered 08/02/16 12:23:07             Desc Main
                                   Document      Page 2 of 4


                           UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF SOUTH CAROLINA

IN RE:                                   )   CASE NO.: 13-02221-jw
                                         )
LOUISE COLEMAN GRANT                     )   CHAPTER 13
                                         )
             Debtor(s).                  )   CERTIFICATION OF PLAN COMPLETION AND
                                         )   REQUEST FOR A DISCHARGE
                                         )

The above-captioned debtor(s) certifie(s) under penalty of perjury that the following are true and
correct:

1) All plan payments have been completed and the debtor is entitled to a discharge.

2.) Pursuant to 11 U.S.C. §1328(a), all amounts payable for domestic support
obligations/alimony due on or before the date set forth below (including any amounts due before
the filing of the bankruptcy petition to the extent provided for by the plan) have been paid to:

Name:
Address:

The debtor’s employer (including address):
Name:         Disabled
Address:

Claims that were not discharged pursuant to 11 U S.C. §5243(a)(2) or (4): N/A

Debts that were reaffirmed under 11 U.S.C. §524 (c):                  N/A

3.) The provisions of 11 U.S.C. §522(q)(1) are not applicable to this case under 11 U.S.C.
§1328(h) and there are not proceedings pending against the debtor of the kind described in 11
U.S.C. §522(q)(1)(B).

4.) The debtor has not received a discharge in a case filed under 7, 11, or 12 of this title during
the 4-year period preceding the date of the order for relief under this chapter, or in a case filed
under chapter 13 of this title during the 2-year period preceding the date of such order.

5.) The debtor has completed an instructional course concerning personal financial management
described in 11 U.S.C. §111 and has either previously filed Official Form 23 so certifying with
the Court, or such certification and accompanying documents are being contemporaneously filed
herewith.

The undersigned requests that a discharge be granted in accordance with 11 U.S.C. §1328.

Date: 01/04/2016
/s/Louise Coleman Grant
Debtor: LOUISE COLEMAN GRANT
Case 13-02221-jw        Doc 21     Filed 08/02/16 Entered 08/02/16 12:23:07          Desc Main
                                   Document      Page 3 of 4


                          UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF SOUTH CAROLINA

IN RE:                                           ) CASE NO.: 13-02221-jw
                                                 )
LOUISE COLEMAN GRANT                             ) CHAPTER 13
                                                 )
                    Debtor(s).                   )
                                                 )
                                                 )
                                                 )
                                                 )

                                  CERTIFICATE OF SERVICE

                                             ******

   The undersigned hereby certifies that he served the foregoing Certification of Plan Completion

and Request for a Discharge on all creditors and parties in interest entitled to such notice. The

parties served are individually listed on the accompanying list or mailing matrix.



Date:    August 2, 2016          BY:      /s/ Autumn Martin
                                          Autumn Martin, Legal Assistant to
                                          Richard A. Steadman, Jr.
                                          STEADMAN LAW FIRM, P.A.
                                          Post Office Box 60367
                                          North Charleston, SC 29419
                                          (843) 529-1100
                                          District Court I.D. #4284
                                          rsteadman@steadmanlawfirm.com
                                          Attorney for the Debtor(s)


Via Electronic Notice Only:
JAMES M. WYMAN
CHAPTER 13 TRUSTEE

OFFICE OF THE U.S. TRUSTEE
1835 ASSEMBLY ST., STE 953
COLUMBIA, SC 29201


Via U.S Postal Service Only:
See attached mailing matrix
                Case 13-02221-jw   Doc 21   Filed 08/02/16           Entered 08/02/16 12:23:07      Desc Main
Label Matrix for local noticing         American InfoSource LP asPage
                                             Document             agent 4forof 4       BEAUFORT MEDICAL IMAGING INC.
0420-2                                  Midland Funding LLC                            CBC
Case 13-02221-jw                        PO Box 268941                                  PO BOX 5067
District of South Carolina              Oklahoma City, OK 73126-8941                   KINGSPORT TN 37663-0067
Charleston
Tue Aug 2 12:19:03 EDT 2016
BNC Banking                             Cred Bur Col                                   FNCC/Legacy Visa
P. O. Box 1148                          10368 Wallace Alley St S                       Attn: Bankruptcy
Thomasville NC 27361-1148               Kingsport TN 37663-3977                        PO Box 5097
                                                                                       Sioux Falls SD 57117-5097


Louise Coleman Grant                    I C System                                     MUSC
89 America Street                       Attn: Bankruptcy                               1 Poston Rd, Ste 350
Charleston, SC 29403-5623               444 Highway 96 East, P.O. Box 64444            Charleston SC 29407-3431
                                        Saint Paul MN 55164-0444


REGIONAL MANAGEMENT CORPORATION         RMC                                            Regional Finance
PO BOX 776                              PO Box 50685                                   567 King St
MAULDIN, SC 29662-0776                  Columbia SC 29250-0685                         Charleston SC 29403-5503
(864) 546-3404


Richard A. Steadman, Jr.                SCDOR                                          SFC-Central Bankruptcy
PO Box 60367                            PO BOX 12265                                   P.O. Box 1893
North Charleston SC 29419-0367          Columbia SC 29211-2265                         Spartanburg, S.C. 29304-1893



Sca                                     Security Fin                                   Southern Finance Co.
P O Box 910                             SFC Centralized Bankruptcy                     1220 Ben Sawyer Blvd., Suite P
Edenton NC 27932-0910                   PO Box 1893                                    Mount Pleasant SC 29464-4581
                                        Spartanburg SC 29304-1893


Richard A. Steadman                     Richard A. Steadman Jr.                        US Trustee’s Office
Steadman Law Firm PA                    STEADMAN LAW FIRM PA                           Strom Thurmond Federal Building
PO Box 60367                            P O Box 60367                                  1835 Assembly Street
North Charleston, SC 29419-0367         North Charleston, SC 29419-0367                Suite 953
                                                                                       Columbia, SC 29201-2448

World Finance Corp                      James M. Wyman                                 End of Label Matrix
472 Meeting Street                      PO Box 997                                     Mailable recipients   22
Charleston SC 29403-4899                Mount Pleasant, SC 29465-0997                  Bypassed recipients    0
                                                                                       Total                 22
